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                                                        THE HONORABLE JOHN C. COUGHENOUR
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 6
                                 UNITED STATES DISTRICT COURT
 7
                                WESTERN DISTRICT OF WASHINGTON
 8                                        AT SEATTLE

 9   JANE FENG,                                            CASE NO. C20-1779-JCC
10                           Plaintiff,                    MINUTE ORDER
11           v.

12   ZONAR SYSTEMS, INC.,

13                           Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on telephonic notice by counsel for Defendant that
18   the parties have settled this lawsuit. Within 30 days of the date of this order, the parties must file
19   a stipulated dismissal or a joint status report. The Clerk is DIRECTED to statistically close this
20   case pending the parties’ completion of the settlement.
21          DATED this 29th day of March 2021.
22                                                            William M. McCool
                                                              Clerk of Court
23

24                                                            s/Paula McNabb
                                                              Deputy Clerk
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     MINUTE ORDER
     C20-1779-JCC
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